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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF CONNECTICUT


RONNI RABIN, ET AL.,            :
                                :
     Plaintiffs,                :
                                :
V.                              :      CASE NO. 3:03-CV-555(RNC)
                                :
PATRICIA WILSON-COKER,          :
Commissioner of the Connecticut :
Department of Social Services, :
in her official capacity,       :
                                :
     Defendant.                 :

                             RULING AND ORDER

     Plaintiffs’ amended motion for fees and costs [Doc. # 62] is

granted in part for the reasons stated below, and their original

motion for fees [Doc. # 55] is denied as moot.1

     It is undisputed that under 42 U.S.C. § 1988, the plaintiffs

are entitled to an award of reasonable fees and costs.            The

starting point for determining the fee is the so-called

"lodestar" amount, which is arrived at by multiplying "the number

of hours reasonably expended on the litigation . . . by a

reasonable hourly rate."      Hensley v. Eckerhart, 461 U.S. 424, 433

(1983); see Quaratino v. Tiffany & Co., 166 F.3d 422, 425 (2d

Cir. 1999).     Reasonable attorneys' fees also include reasonable

out-of-pocket expenses ordinarily charged to clients.2           See


     1
        Familiarity with the prior proceedings in this case is
presumed. See Rabin v. Wilson-Coker, 362 F.3d 190 (2d Cir.
2004).
     2
         Defendant does not challenge the $3,456.11 in costs claimed
                                                      (continued...)
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LeBlanc-Sternberg v. Fletcher, 143 F.3d 748, 763 (2d Cir. 1998).

To enable a court to calculate the lodestar amount, the fee

applicant must support her application with contemporaneous time

records specifying the date, hours expended, and nature of work

performed.    See Hensley, 461 U.S. at 437 & n.12.           Hours that are

excessive, redundant, or otherwise unnecessary should be

excluded.    See id. at 434.    The lodestar should be based on

prevailing market rates for attorneys of comparable skill,

experience, and reputation.      See Blum v. Stenson, 465 U.S. 886,

895 n.11 (1984); Kirsch v. Fleet Street, Ltd., 148 F.3d 149, 172

(2d Cir. 1998).    In addition, a prevailing party is not entitled

to a fee for time spent prosecuting unsuccessful claims if those

claims are unrelated to the claim on which the party prevailed.

See Hensley, 461 U.S. at 434-35.

I.   Calculating the Lodestar

     A. Hours Reasonably Expended

     The time records submitted in support of the amended motion

indicate that five attorneys, Shelley White, Sharon Langer, Greg

Bass, Lucy Potter, and Sheldon Toubman,3 devoted a total of 760




     2
      (...continued)
by the plaintiffs in this case.
     3
        Plaintiffs’ original motion included 26.15 more hours for
worked performed by Attorney Joanne Gibau.

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hours to the underlying litigation.4       See Pls.’ Am. Motion for

Attorneys Fees and Costs, Ex. A.        Defendant contends that this

total should be reduced for a variety of reasons.            I find that

some reductions are appropriate and reduce the lodestar total to

667 hours.

     1.   Vagueness

     The defendant contends that vague entries in the time

records require a reduction in the total number of hours used to

determine the lodestar.      Counsel seeking fees are "not required

to record in great detail how each minute of [their] time was

expended."    Hensley, 461 U.S. at 437 n.12. But they are obliged

“to keep and present records from which the court may determine

the nature of the work done, [and] the need for and the amount of

time reasonably required; where adequate contemporaneous records

have not been kept, the court should not award the full amount

requested.”   F.H. Kear & Co. v. Nineteen Named Trustees, 810 F.2d

1250, 1265 (2d Cir. 1987)(rejecting time records with one

description for an entire day's work).        Generally speaking, the

time records at issue here satisfy this standard, but some of

them do contain the kind of entries, such as “work on brief,”

that have been rejected as vague by other judges of this court.

See G.M. v. New Britain Bd. of Educ., No. 3:96CV2305AVC, 2000 WL


     4
      This total does not include the time that Attorney White
spent defending the fee application. I discuss the fees awarded
for that time below.

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435577, at *5   (D. Conn. March 8, 2000) (reducing lodestar by 20

percent because entries such as "preparation for hearing," and

"work on appeal brief" were inadequate); Mr. & Mrs. B. v. Weston

Bd. of Educ., 34 F. Supp. 2d 777, 781 (D. Conn. 1999) ("Entries

stating such vague references as 'review of file,' 'review of

correspondence,' 'research,' 'conference with client,' and

'preparation of brief' do not provide an adequate basis upon

which to evaluate the reasonableness of the services and hours

expended on a given matter").       In light of these vague entries, a

5% reduction in the total number of hours is appropriate.

     The defendant also contends that many of the entries are too

vague to permit the court to determine whether the time was spent

on a successful claim.       This concern is addressed below in

connection with defendant’s argument for a reduction in fees

based on limited success.       See Grant v. Martinez, 973 F.2d 96,

101 (2d Cir. 1992) (describing process of reducing lodestar for

partial success).

     2.   Bundled Claims

     The defendant contends that some of the entries are

“bundled” (i.e. encompass multiple tasks) in a manner that makes

it difficult to determine the reasonableness of the time spent on

any listed activity.     See Soler v. G & U, Inc., 801 F. Supp.

1056, 1061 (S.D.N.Y. 1992).       No such “bundled” entry is

specifically cited and I find none that, alone or in combination


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with others, warrants a reduction in the total number of hours.

     3. Duplicative Efforts

     The defendant urges the court to reduce the hours of

Attorney Potter by 50%, and disallow all time spent by Attorneys

Bass and Toubman, on the ground that using five attorneys to

prosecute this action was "excessive, redundant or otherwise

unnecessary."   See Hensley, 461 U.S. at 434.

     Attorney Potter

     Attorney Potter acted as "third chair" during the

proceedings in this court.     The defendant argues that plaintiffs

have failed to demonstrate that they needed more than two

attorneys to work on this matter.      Based on my review of the time

records, I find that most of Attorney Potter’s time was

reasonably spent.    However, her appearance at two depositions

also attended by Attorneys White and Langer must be regarded as

unnecessary.    Accordingly, 8.8 hours of her time is disallowed.

     Attorney Bass

     Attorney Bass did not play a lead role in the litigation.

Nonetheless, he expended 93.5 hours.       The defendant contends that

this amount is excessive given his “consultative role.”

Plaintiffs urge that extensive consultation among a team of

attorneys was necessary because of the pace of the litigation,

its complexity, and the intensity of the defendant’s opposition.

I agree to a large extent but find it appropriate to disallow the


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6.5 hours he spent at the hearing on May 6, 2003, and reduce the

balance by 25%.

     Attorney Toubman

     Attorney Toubman did not enter an appearance in the case,

yet plaintiffs ask to be reimbursed for 81.1 hours of his time.

The defendant argues that his lack of an appearance prohibits him

from seeking a fee.     In Malarkey v. Texaco, Inc., 794 F.Supp.

1237, 1248 (S.D.N.Y. 1992), the court disallowed the hours of a

non-appearing attorney who did not "have direct contact with any

lawyer who did" appear.      Id.; see also Kregos v. The Latest Line,

Inc., No. 5-92-CV-398(WWE), 1998 WL 696007, at *2-3 (D. Conn.

Aug. 31, 1998) (non-appearing attorney "never met, spoke to, or

corresponded with counsel for any of the defendants").            Here,

Attorney Toubman consulted extensively with plaintiffs’ counsel.

Accordingly, I find that his time is compensable but reduce his

total hours by 25%.

     B. Reasonable Hourly Rates

     The parties disagree as to the hourly rates that should be

used to calculate the lodestar.     Based on the affidavits of other

Connecticut attorneys that have been submitted in support of the

plaintiffs’ claim, and my independent knowledge of the market for

legal services in Connecticut, I find that lawyers of comparable

experience to that of plaintiffs’ counsel have been compensated

for their services in the range of $250 to $275 per hour.             I


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further find it reasonable that Attorneys White and Langer have

charged their travel time at one half their normal rates.

       Defendant observes that all five of plaintiffs’ counsel are

seeking reimbursement at rates charged by partners in private

practice.     I agree with the defendant that attorneys in private

practice would have had the ability to reduce costs by delegating

certain tasks to associates.      I also agree with defendant’s

argument that Attorneys Potter, Bass and Toubman’s roles in the

case were primarily in support of Attorneys White and Langer.

For these reasons, I find the hourly rate of $275 per hour for

Attorney White and $250 per hour for Attorney Langer, with

appropriate reductions in these rates for travel, to be

reasonable, and reduce the hourly rate of Attorney Potter to $225

per hour, and the rates of Attorneys Bass and Toubman to $200 per

hour.

       C.   The Lodestar Calculation

       The lodestar calculation is as follows:

ATTORNEY            TOTAL HOURS         RATE                    TOTAL


White               223.4               $275.00                 $61,435.00
White (travel)       21.9               $137.50                 $ 3,011.25
Langer              173.9               $250.00                 $43,475.00
Langer (travel)      16.5               $125.00                 $ 2,062.50
Potter              111.4               $225.00                 $25,065.00
Bass                 61.7               $200.00                 $12,340.00



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Toubman                57.8               $200.00              $11,560.00
Total                 667                                      $158,948.75



II.     Adjusting the Lodestar

       There is a strong presumption that the lodestar figure

represents a reasonable fee.        See Quaratino, 166 F.3d at 425.

However, the lodestar may be adjusted on the basis of several

factors, including the "results obtained."           Hensley, 461 U.S. at

434.    "Indeed, 'the most critical factor' in determining the

reasonableness of a fee award 'is the degree of success

obtained.'"     Farrar v. Hobby, 506 U.S. 103, 114 (1992) (quoting

Hensley, 461 U.S. at 436).        When a plaintiff has obtained

excellent results, the attorney should recover a fully

compensatory fee.      Hensley, 461 U.S. at 435.        When a plaintiff

recovers less than all the relief sought but the relief obtained

is nevertheless substantial, a fee award based on all hours

reasonably expended may still be appropriate if the relief

obtained justifies the expenditure of attorney time.               See id. at

435 n.11.     However, if a plaintiff recovers only minimal damages

that fall well short of the relief sought, a reduction in the

lodestar may be necessary and appropriate.           See Farrar, 506 U.S.

at 114; Hensley, 461 U.S. at 434.          There is no formula for

determining the extent to which a lodestar should be reduced to

account for the limited nature of a plaintiff’s success.                See id.


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at 436.   An "equitable judgment" is required.        Id. at 437.

     Defendant urges that any fee award should be substantially

reduced because the plaintiffs obtained only limited success.              I

disagree.   Originally, the plaintiffs made three claims.           First,

they claimed they were entitled to transitional medical

assistance ("TMA") pursuant to 42 U.S.C. § 1396r-6.           Second, they

claimed that the State could not terminate their Medicaid

coverage until the Department of Social Services conducted an ex

parte review of their file and determined that they were not

qualified for coverage under any category.        Finally, they claimed

that the termination notice they received was invalid because it

failed to inform them that if they requested a hearing, they

would secure coverage until the hearing was held.           Subsequently,

the Department made efforts to identify individuals who were

eligible for other types of coverage.       These efforts resulted in

coverage for nearly 1,000 individuals.       The Department also

issued a new notice informing people that if they contacted a

caseworker in accordance with the new notice, their coverage

would continue until a determination of eligibility was made.              It

also extended the benefits termination date from April 1, 2003 to

July 1, 2003.

     On March 31, 2003, I granted plaintiffs’ motion for

temporary restraining order and enjoined the defendant from

terminating the plaintiffs’ Medicaid benefits.          After a hearing


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in May 2003, I denied plaintiffs’ motion for a preliminary

injunction and granted defendant’s motions for partial summary

judgment on the TMA and ex parte review claims.               But my ruling

against the plaintiffs on the TMA claim was later overturned, and

my ruling that an ex parte review of plaintiffs’ records was not

required was based on the new notice and review procedures.

       In view of the results obtained by plaintiffs’ counsel, I

find that only a very modest reduction is called for and,

accordingly, reduce the overall fee amount by 15%.               This results

in a fee award of $135,106.

III. Costs

       Plaintiffs are also entitled to be reimbursed for reasonable

costs.    Defendant does not object to plaintiffs’ request for

costs of $3,456.11, and the costs are adequately supported by the

record.

IV.    Defense of Fee Application

       Attorney White claims 26 additional hours that she spent

defending her fee application.        Time that is reasonably spent

establishing a claim for attorney’s fees is compensable under

fee-shifting provisions.       See Gagne v. Maher, 594 F.2d 336, 344

(2d Cir. 1979).     Based on Attorney White’s supplemental time

records, I find that plaintiffs are entitled to compensation for

an additional 25 hours of Attorney White’s time at $275 per hour,




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for a total of $6,875.00.5

III.        Conclusion

        Accordingly, Plaintiffs’ Amended Motion for Fees and Costs

[Doc. # 62] is granted in part and denied in part.              Plaintiffs

are awarded fees and costs in the total amount of $145,437.11.

Plaintiffs’ original Motion for Attorneys’ Fees [Doc. # 55] is

denied as moot.

        So ordered.

        Dated at Hartford, Connecticut this 31st day of March, 2006.



                                 ______\s\________________________
                                       Robert N. Chatigny
                                  United States District Judge




        5
        One hour has been deducted in deference to defendant’s
position that she should not have to pay for time spent
correcting errors.

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